201 F.2d 513
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.INTERNATIONAL UNION OF OPERATING ENGINEERS, LOCAL 513, AFL.
    No. 14763.
    United States Court of Appeals Eighth Circuit.
    Jan. 13, 1953.
    
      David P. Findling, Associate General Counsel, National Labor Relations Board and A. Norman Somers, Asst. General Counsel, National Labor Relations Board, Washington, D.C., for petitioner.
      PER CURIAM.
    
    
      1
      Order of National Labor Relations Board enforced, on petition for enforcement, and stipulation filed with Board.
    
    